              Case 18-32786-KCF                    Doc 1        Filed 11/16/18 Entered 11/16/18 15:25:28                               Desc Main
                                                                Document     Page 1 of 90
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Robert
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Scott
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Susser
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2524
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
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Debtor 1   Robert Scott Susser                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 17 Washington Avenue
                                 Rumson, NJ 07760
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Monmouth
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than            have lived in this district longer than in any other
                                        in any other district.                                         district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Robert Scott Susser                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Robert Scott Susser                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   1 Stop Home Maintenance and Repair
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               17 Washington Ave.
     If you have more than one                 Rumson, NJ 07760
     sole proprietorship, use a
                                               Number, Street, City, State & ZIP Code
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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Debtor 1    Robert Scott Susser                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
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Debtor 1    Robert Scott Susser                                                                          Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    to be?                                                                          $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Robert Scott Susser
                                 Robert Scott Susser                                              Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     November 16, 2018                                Executed on
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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Debtor 1   Robert Scott Susser                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ William H. Oliver, Jr.                                         Date         November 16, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                William H. Oliver, Jr.
                                Printed name

                                William H. Oliver, Jr.
                                Firm name

                                2240 Highway 33
                                Suite 112
                                Neptune, NJ 07753
                                Number, Street, City, State & ZIP Code

                                Contact phone     732-988-1500                               Email address         bkwoliver@aol.com
                                24859 NJ
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                                                         Document     Page 8 of 90
 Fill in this information to identify your case:

 Debtor 1                  Robert Scott Susser
                           First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                          Middle Name                          Last Name

 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             820,410.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              48,450.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             868,860.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,017,361.48

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             309,080.16

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,892,107.71


                                                                                                                                  Your total liabilities $               3,218,549.35


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,083.33

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,015.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Robert Scott Susser                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                        2,083.33


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            309,080.16

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $           309,080.16




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 18-32786-KCF                              Doc 1         Filed 11/16/18 Entered 11/16/18 15:25:28                                     Desc Main
                                                                           Document      Page 10 of 90
 Fill in this information to identify your case and this filing:

 Debtor 1                    Robert Scott Susser
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name

 United States Bankruptcy Court for the:                     DISTRICT OF NEW JERSEY

 Case number                                                                                                                                                  Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                        What is the property? Check all that apply
        17 Washington Street                                                       Single-family home                          Do not deduct secured claims or exemptions. Put the
        Street address, if available, or other description                                                                     amount of any secured claims on Schedule D:
                                                                                   Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative

                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Rumson                            NJ        07760-2036                     Land                                        entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                                $820,410.00                 $820,410.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                       (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                                                               Debtor's Right of Possession/901
                                                                                                                               F.2d 325 Third Circuit Possessory
                                                                                   Debtor 1 only                               Interest-Fore
        Monmouth                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                                   At least one of the debtors and another          (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            FMV - $907,000
                                                                            Less COS - $122,590


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $820,410.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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 Debtor 1         Robert Scott Susser                                                                           Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Escape                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                130000                  Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         totalled no value
                                                                     Check if this is community property                             $0.00                        $0.00
                                                                     (see instructions)



                     Ford                                                                                              Do not deduct secured claims or exemptions. Put
  3.2    Make:                                                 Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Escape                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                 80,000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $5,000.00                   $5,000.00
                                                                     (see instructions)



  3.3    Make:       Saab                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                160,000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         no value not on the road
                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)



  3.4    Make:       F150                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  52000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                      $35,000.00                  $35,000.00
                                                                     (see instructions)



                     F150                                                                                              Do not deduct secured claims or exemptions. Put
  3.5    Make:                                                 Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                180000                  Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $750.00                     $750.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 2
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 Debtor 1       Robert Scott Susser                                                                               Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>          $41,250.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Furniture                                                                                                                $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Cell phone and other media players                                                                                         $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
       No
       Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
       No
       Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothes                                                                                                                    $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       No
       Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
       No
       Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 3
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 Debtor 1        Robert Scott Susser                                                                                         Case number (if known)


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                         $3,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
       No
       Yes........................                                                            Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
        Yes. Give specific information about them...................
                                  Name of entity:                                                                             % of ownership:

                                                Advanced Development Custom Homes LLC -
                                                Tools and Equipment
                                                $1,000,000 in debt - no value no accounts
                                                recievable                                                                         100          %                        $0.00


                                                1 Stop Home Maintenance and Repair - no value                                      100          %                    $700.00


                                                RFH Custom Homes LLC- no assets/no value
                                                no accounts recievable                                                             100          %                    $500.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                              Institution name:

                                                                                              Builders General                                                     $1,500.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
Official Form 106A/B                                                                   Schedule A/B: Property                                                            page 4
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       Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

 Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                          value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

Official Form 106A/B                                                   Schedule A/B: Property                                                               page 5
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 Debtor 1        Robert Scott Susser                                                                                             Case number (if known)


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $2,700.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                       tools used                                                                                                                           $1,000.00


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                  Name of entity:                                                                                  % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No

Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 6
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 Debtor 1         Robert Scott Susser                                                                                               Case number (if known)

        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................           $1,000.00

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:        List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................          $820,410.00
 56. Part 2: Total vehicles, line 5                                                                        $41,250.00
 57. Part 3: Total personal and household items, line 15                                                    $3,500.00
 58. Part 4: Total financial assets, line 36                                                                $2,700.00
 59. Part 5: Total business-related property, line 45                                                       $1,000.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
 61. Part 7: Total other property not listed, line 54                                          +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                   $48,450.00             Copy personal property total           $48,450.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $868,860.00




Official Form 106A/B                                                             Schedule A/B: Property                                                                          page 7
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 Fill in this information to identify your case:

 Debtor 1                Robert Scott Susser
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name

 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      17 Washington Street Rumson, NJ                                $820,410.00                               $20,250.00      11 U.S.C. § 522(d)(1)
      07760-2036 Monmouth County
      FMV - $907,000                                                                       100% of fair market value, up to
      Less COS - $122,590                                                                  any applicable statutory limit
      Line from Schedule A/B: 1.1

      2012 Ford Escape 80,000 miles                                    $5,000.00                                 $3,775.00     11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2012 Ford Escape 80,000 miles                                    $5,000.00                                 $1,225.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2003 Saab 160,000 miles                                             $500.00                                  $500.00     11 U.S.C. § 522(d)(5)
      no value not on the road
      Line from Schedule A/B: 3.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2013 F150 180000 miles                                              $750.00                                  $750.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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 Debtor 1    Robert Scott Susser                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Furniture                                                         $2,500.00                                 $2,500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cell phone and other media players                                  $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothes                                                             $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 Stop Home Maintenance and                                         $700.00                                   $700.00        11 U.S.C. § 522(d)(5)
     Repair - no value
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.2                                                          any applicable statutory limit

     RFH Custom Homes LLC- no                                            $500.00                                   $500.00        11 U.S.C. § 522(d)(5)
     assets/no value
     no accounts recievable                                                                100% of fair market value, up to
     100 % ownership                                                                       any applicable statutory limit
     Line from Schedule A/B: 19.3

     Builders General                                                  $1,500.00                                 $1,500.00        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Robert Scott Susser
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name

 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                          Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                               value of collateral.   claim                   If any
 2.1     1st Constitution Bank                    Describe the property that secures the claim:                    $35,951.41               $35,000.00              $951.41
         Creditor's Name                          2015 F150 52000 miles

                                                  As of the date you file, the claim is: Check all that
         US Hwy 130 & Dey Rd                      apply.
         Cranbury, NJ 08512                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
     community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Wells Fargo                              Describe the property that secures the claim:                  $981,410.07               $820,410.00         $161,000.07
         Creditor's Name                          17 Washington Street Rumson, NJ
         c/o Stern & Eisenberg,                   07760-2036 Monmouth County
         PC                                       FMV - $907,000
         1040 N. Kings Highway                    Less COS - $122,590
                                                  As of the date you file, the claim is: Check all that
         Ste. 407                                 apply.
         Cherry Hill, NJ 08034                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
     community debt

 Date debt was incurred                                    Last 4 digits of account number        1915


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 2
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 Debtor 1 Robert Scott Susser                                                                       Case number (if known)
             First Name                 Middle Name                     Last Name




   Add the dollar value of your entries in Column A on this page. Write that number here:                         $1,017,361.48
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                        $1,017,361.48

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                          On which line in Part 1 did you enter the creditor?   2.1
        1st Constitution Bank
        PO Box 634 Rte 130                                                                    Last 4 digits of account number
        Cranbury, NJ 08512

        Name, Number, Street, City, State & Zip Code                                          On which line in Part 1 did you enter the creditor?   2.2
        Foreclosure Processing Service
        Superior Court Clerk                                                                  Last 4 digits of account number
        PO Box 971
        Trenton, NJ 08625

        Name, Number, Street, City, State & Zip Code                                          On which line in Part 1 did you enter the creditor?   2.2
        Superior Court Clerk's Office
        Foreclosure Processing Service                                                        Last 4 digits of account number   1915
        PO Box 971
        Trenton, NJ 08625-0971

        Name, Number, Street, City, State & Zip Code                                          On which line in Part 1 did you enter the creditor?   2.2
        Wells Fargo Home Loan
        P.O. Box 11758                                                                        Last 4 digits of account number
        Newark, NJ 07101




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Robert Scott Susser
                              First Name                     Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)          First Name                     Middle Name                       Last Name

 United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim        Priority               Nonpriority
                                                                                                                                           amount                 amount
 2.1          Donna Susser                                           Last 4 digits of account number                          Unknown             Unknown                Unknown
              Priority Creditor's Name
              4 Pompano Rd                                           When was the debt incurred?
              Rumson, NJ 07760
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 24
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 Debtor 1 Robert Scott Susser                                                                               Case number (if known)

                                                                                                                            $108,610.0
 2.2       Internal Revenue Service                                  Last 4 digits of account number      4998                       0   $108,610.00              $0.00
           Priority Creditor's Name
           Special Procedures                                        When was the debt incurred?
           Bankruptcy Section
           P.O. Box 724
           Springfield, NJ 07081
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           2014 Tax Debt (1040)

 2.3       Internal Revenue Service                                  Last 4 digits of account number      2699              $64,781.00    $64,781.00              $0.00
           Priority Creditor's Name
           Special Procedures                                        When was the debt incurred?
           Bankruptcy Section
           P.O. Box 724
           Springfield, NJ 07081
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           2015 Tax Debt (1040)
                                                                                         Filed 8/23/17

                                                                                                                            $135,689.1
 2.4       State of New Jersey                                       Last 4 digits of account number      4318                       6   $135,689.16              $0.00
           Priority Creditor's Name
           Division of Taxation                                      When was the debt incurred?
           PO Box 245
           Trenton, NJ 08601
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Filed 3/1/18

 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 24
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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
       claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
       creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                           Total claim

 4.1        Albert E. Sacco, DDS                                     Last 4 digits of account number        6210                                                       $1,091.91
            Nonpriority Creditor's Name
            c/o Jeffrey Rosen, Esq.                                  When was the debt incurred?
            524 Prospect Ave.
            Little Silver, NJ 07739
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                        Contingent
                 Debtor 1 only
                                                                        Unliquidated
                 Debtor 2 only
                                                                        Disputed
                 Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another                Student loans
                 Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify


 4.2        All Phase Construction LLC                               Last 4 digits of account number        0711                                                     $13,896.93
            Nonpriority Creditor's Name
            c/o Jeffrey Rosen                                        When was the debt incurred?
            788 Shrewsbury Ave., Ste. 2207
            Eatontown, NJ 07724
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                        Contingent
                 Debtor 1 only
                                                                        Unliquidated
                 Debtor 2 only
                                                                        Disputed
                 Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another                Student loans
                 Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify



            American Builders & Contractors
 4.3        Supply C                                                 Last 4 digits of account number        1218                                                   $241,370.51
            Nonpriority Creditor's Name
            a/k/a ABC Supply                                         When was the debt incurred?
            c/o Bart J. Klein, Esq.
            2066 Millburn Ave.
            Maplewood, NJ 07040
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                        Contingent
                 Debtor 1 only
                                                                        Unliquidated
                 Debtor 2 only
                                                                        Disputed
                 Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                 At least one of the debtors and another                Student loans
                 Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify




Official Form 106 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 3 of 24
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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

 4.4      Associated Appraisal Group                                 Last 4 digits of account number       1114                                                    $662.00
          Nonpriority Creditor's Name
          c/o Piro Zinna Cifelli Paris &                             When was the debt incurred?
          Genitempo
          360 Passaic Ave.
          Nutley, NJ 07110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Atlantic Plumbing Supply Corp                              Last 4 digits of account number       0618                                               $162,481.08
          Nonpriority Creditor's Name
          c/o Turner Law Firm LLC                                    When was the debt incurred?
          76 S. Orange Ave.
          South Orange, NJ 07079
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



          Christina Trust, Div of Wilmington
 4.6      Savin                                                      Last 4 digits of account number       7616                                                  Unknown
          Nonpriority Creditor's Name
          c/o Knuckles Komosinski & Manfro,                          When was the debt incurred?
          LLP
          50 Tice Blvd., Ste. 183
          Woodcliff Lake, NJ 07677
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.7      Custom Lawn Sprinkler Co LLC                               Last 4 digits of account number       6709                                                $23,157.32
          Nonpriority Creditor's Name
          c/o James M. Siciliano                                     When was the debt incurred?
          485 Broadway
          Long Branch, NJ 07740
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



          David E. De Lorenzi & Theresa De
 4.8      Lorenzi                                                    Last 4 digits of account number       5909                                                $25,000.00
          Nonpriority Creditor's Name
          200 Fox Hill Dr.                                           When was the debt incurred?
          Little Silver, NJ 07739
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      David Hill                                                 Last 4 digits of account number       8818                                               $110,000.00
          Nonpriority Creditor's Name
          c/o Carluccio Leone Dimon D&S                              When was the debt incurred?
          LLC
          9 Robins Street
          Toms River, NJ 08753
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.10     Disciplinary Oversight Committee                           Last 4 digits of account number       7419                                                  $4,136.40
          Nonpriority Creditor's Name
          c/o Supreme Court Clerk's Office                           When was the debt incurred?
          Richard J. Hughes Justice Complex
          PO Box 970
          Trenton, NJ 08625
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.11     Division of Employer Accounts                              Last 4 digits of account number       1812                                                  $1,791.99
          Nonpriority Creditor's Name
          NJ Department of Labor &                                   When was the debt incurred?
          Workforce Devel
          PO Box 379
          Trenton, NJ 08625
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Docketed 5/92012


 4.12     Dr Allen Yount DMD                                         Last 4 digits of account number       4267                                                    $447.00
          Nonpriority Creditor's Name
          c/o Capital Accounts                                       When was the debt incurred?
          Attn: Bankruptcy Dept
          Po Box 140065
          Nashville, TN 37214
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.13     EZ Pass Violations                                         Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          PO Box 52005                                               When was the debt incurred?
          Newark, NJ 07101-8205
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.14     FIA Card Services NA                                       Last 4 digits of account number       6611                                                $12,661.61
          Nonpriority Creditor's Name
          c/o Gordon & Weinberg                                      When was the debt incurred?
          101 E Hector St.
          Ste. 220
          Greensboro, NC 27410
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.15     Ford Motor Credit Company, LLC                             Last 4 digits of account number       3611                                                $12,423.90
          Nonpriority Creditor's Name
          c/o Morgan Bornstein Morgan                                When was the debt incurred?
          1236 Brace Rd., Ste. K
          Cherry Hill, NJ 08034
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.16     Fox & Melofchik LLC                                        Last 4 digits of account number       0617                                                $39,888.72
          Nonpriority Creditor's Name
          12 Christopher Way, Ste. 101                               When was the debt incurred?
          Eatontown, NJ 07724
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.17     Installed Building Products                                Last 4 digits of account number       7610                                                  $2,134.02
          Nonpriority Creditor's Name
          c/o Obrien & Taylor                                        When was the debt incurred?
          175 Fairfield Ave.
          PO Box 505
          Caldwell, NJ 07007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.18     Internal Revenue Service                                   Last 4 digits of account number       6372                                               $114,140.00
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2007 Tax Debt (1040)




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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

 4.19     Internal Revenue Service                                   Last 4 digits of account number       4261                                                $46,041.00
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2008 (1040)


 4.20     Internal Revenue Service                                   Last 4 digits of account number       4262                                               $188,708.00
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         2009 $35972.88 (1040)
                                                                                         2010 $96908.81 (1040)
                                                                                         2011 $11334.28 (1040)
              Yes                                                       Other. Specify   2012 $44492.67 (1040)

 4.21     Internal Revenue Service                                   Last 4 digits of account number       4572                                                $61,728.00
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2013 (1040)




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 4.22     Internal Revenue Service                                   Last 4 digits of account number       0059                                                $13,658.15
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2006 Tax Debt (1040)


 4.23     Internal Revenue Service                                   Last 4 digits of account number       3810                                                  $9,763.52
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2005 (1040)


 4.24     Internal Revenue Service                                   Last 4 digits of account number       3809                                                $13,708.15
          Nonpriority Creditor's Name
          Special Procedures                                         When was the debt incurred?
          Bankruptcy Section
          P.O. Box 724
          Springfield, NJ 07081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   2005 (1040)




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 4.25     Leonard S. Needle                                          Last 4 digits of account number       0711                                                  $2,973.85
          Nonpriority Creditor's Name
          20 Cedar Ave.                                              When was the debt incurred?
          PO Box 6470
          Fair Haven, NJ 07704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



          Lincoln Automotive Financial
 4.26     Service                                                    Last 4 digits of account number       4826                                                  Unknown
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          Po Box 542000
          Omaha, NE 68154
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.27     Louis & Sons Drywall Inc.                                  Last 4 digits of account number       4311                                                $62,615.00
          Nonpriority Creditor's Name
          c/o Sterns & Weinroth, Esq.                                When was the debt incurred?
          50 West State Street
          Trenton, NJ 08607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.28     Lynda Russo and James Russo                                Last 4 digits of account number       1113                                               $145,377.00
          Nonpriority Creditor's Name
          c/o McCarter & English                                     When was the debt incurred?
          Four Gateway Center 100 Mulberry
          Street P.O. Box 652
          Newark, NJ 07101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.29     Lynda Russo and James Russo                                Last 4 digits of account number       3313                                                $82,500.00
          Nonpriority Creditor's Name
          c/o The Beinhaker Law Firm LLC                             When was the debt incurred?
          33 Bleeker St., Ste. 210
          Millburn, NJ 07041
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.30     Maybruch & Zapcic, LLC                                     Last 4 digits of account number       3016                                                $16,949.50
          Nonpriority Creditor's Name
          61 Village Ct.                                             When was the debt incurred?
          PO Box 383
          Hazlet, NJ 07730
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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          New Jersey Motor Vehicle
 4.31     Comissions                                                 Last 4 digits of account number       DJ36,4318                                             Unknown
          Nonpriority Creditor's Name
          PO Box 155                                                 When was the debt incurred?
          Trenton, NJ 08666-0155
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   vin #1fmcu0eg4ckc73454


          New Jersey Motor Vehicle
 4.32     Commission                                                 Last 4 digits of account number       4318                                                  Unknown
          Nonpriority Creditor's Name
          Title Records Unit                                         When was the debt incurred?
          PO Box 155
          Trenton, NJ 08666-0155
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Levy on 2010 Ford


 4.33     NJDMV                                                      Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          M.V. Violations Surcharge System                           When was the debt incurred?
          P.O.Box 4850
          Trenton, NJ 08650
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.34     Pella Windows & Doors                                      Last 4 digits of account number       7911                                                $17,092.25
          Nonpriority Creditor's Name
          c/o Hudson Law Offices PC                                  When was the debt incurred?
          900 Rte. 168, Ste. C-2
          Blackwood, NJ 08012
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.35     Precision Mirror & Glass, Inc.                             Last 4 digits of account number       3818                                               $174,000.00
          Nonpriority Creditor's Name
          c/o Paul V. Fernicola & Associates,                        When was the debt incurred?
          LLC
          219 Broad St.
          Red Bank, NJ 07701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.36     Shrewsbury State Bank                                      Last 4 digits of account number       3291                                                $37,134.61
          Nonpriority Creditor's Name
          140 Markham Place                                          When was the debt incurred?
          Little Silver, NJ 07739
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.37     Standard Roofing Inc.                                      Last 4 digits of account number       4010                                               $152,738.28
          Nonpriority Creditor's Name
          c/o Ronald L. Bennardo, Esq.                               When was the debt incurred?
          332 S Main St
          Forked River, NJ 08731
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.38     State of New Jersey                                        Last 4 digits of account number       6698                                                $14,746.99
          Nonpriority Creditor's Name
          Division of Taxation                                       When was the debt incurred?
          PO Box 245
          Trenton, NJ 08601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   1998


 4.39     State of New Jersey                                        Last 4 digits of account number       4318                                                  Unknown
          Nonpriority Creditor's Name
          Division of Taxation                                       When was the debt incurred?
          PO Box 245
          Trenton, NJ 08601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.40     TD Bank NA                                                 Last 4 digits of account number       7210                                                $39,349.95
          Nonpriority Creditor's Name
          c/o Pressler & Pressler LLP                                When was the debt incurred?
          7 Entin Rd.
          Parsippany, NJ 07054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.41     The Plastic Surgery Center, PA                             Last 4 digits of account number       2616                                                  $3,504.00
          Nonpriority Creditor's Name
          c/o Maggs & McDermott, LLC                                 When was the debt incurred?
          800 Old Bridge Rd
          Brielle, NJ 08730-1334
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



          Warshauer Electric Supply
 4.42     Company                                                    Last 4 digits of account number       9510                                                $34,036.07
          Nonpriority Creditor's Name
          c/o Nord & DeMaio                                          When was the debt incurred?
          Turnpike Metroplex
          190 St. Hwy 18, Suite 201
          East Brunswick, NJ 08816
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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           Waterways Condominium
 4.43      Association, Inc.                                         Last 4 digits of account number          5391                                                   $10,200.00
           Nonpriority Creditor's Name
           c/o Ronald L. Perl, Esq.                                  When was the debt incurred?
           HILL WALLACK LLP
           21 Roszel Rd
           Princeton, NJ 08540-6205
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
                                                                         Unliquidated
              Debtor 2 only
                                                                         Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                    Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.44      Wilmington Savings Fund Societ                            Last 4 digits of account number          7616                                                     Unknown
           Nonpriority Creditor's Name
           co Michel Lee                                             When was the debt incurred?
           50 Tice Blvd Ste 183
           Woodcliff Lake, NJ 07677
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                         Contingent
              Debtor 1 only
                                                                         Unliquidated
              Debtor 2 only
                                                                         Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                    Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 1st Constitution Bank                                         Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO BOX 634                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Rte. 130
 Cranbury, NJ 08512
                                                               Last 4 digits of account number                    9518
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 1st Constitution Bank                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 634, Rte. 130                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Cranbury, NJ 08512
                                                               Last 4 digits of account number                    4318
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ABC Supply                                                    Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Bart J. Klein, Esq.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 2066 Millburn Ave.
 Maplewood, NJ 07040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

 Adam Rondinelli                                               Line 2.4 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 50 Barrack St                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Trenton, NJ 08695
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Adam Rondinelli                                               Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 50 Barrack St                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Trenton, NJ 08695
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Albert E. Sacco, DDS                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 18 Ayers Lane                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Little Silver, NJ 07739
                                                               Last 4 digits of account number                  6210
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 All Phase Construction LLC                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 743 Prospect Ave                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 South Amboy, NJ 08879
                                                               Last 4 digits of account number                  0711
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Builders & Contractors                               Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Supply C                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 100 Park Rd, Tinton Falls, NJ 07724
 Eatontown, NJ 07724
                                                               Last 4 digits of account number                  9518
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Associated Appraisal Group                                    Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 6 Commerce Dr Ste 303                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Cranford, NJ 07016
                                                               Last 4 digits of account number                  4414
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atlantic Plumbing Supply Corp                                 Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 702 Joline Ave                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Long Branch, NJ 07740
                                                               Last 4 digits of account number                  0618
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atlantic Plumbing Supply Corp                                 Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2810 State Hwy. Rte. 37 East                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Toms River, NJ 08753
                                                               Last 4 digits of account number                  0618
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Christiana Trust, A Div of                                    Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Wilmington                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Savings Fund Society, FSB
 c/o Selene Finance, LP
 9990 Richmond Ave., Ste. 400
 Houston, TX 77042
                                                               Last 4 digits of account number                  7616
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Custom Lawn Sprinkler Co LLC                                  Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 264 Branchport Ave                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Long Branch, NJ 07740
                                                               Last 4 digits of account number                  6709
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 David Hill                                                    Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 28 Walker Lane                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Waretown, NJ 08758
                                                               Last 4 digits of account number                  8818

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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dr. Allen Yount DMD                                           Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Capital Accounts                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 140065
 Nashville, TN 37214
                                                               Last 4 digits of account number                  4267
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dr. Allen Yount DMD                                           Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 333 N College St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Auburn, AL 36830
                                                               Last 4 digits of account number                  4267
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 EZ Pass                                                       Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 375 McCarter Highway                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07114
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FIA Card Services NA                                          Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4161 Piedmont PY                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Greensboro, NC 27410
                                                               Last 4 digits of account number                  6611
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ford Motor Credit Company, LLC                                Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1335 S Clearview Box 6508                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Mesa, AZ 85216
                                                               Last 4 digits of account number                  3611
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Installed Building Products                                   Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 495 S High St.                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Ste. 50
 Columbus, OH 43215
                                                               Last 4 digits of account number                  7610
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Inv. Adam Rondinelli                                          Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 50 Barrack St.                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Trenton, NJ 08695
                                                               Last 4 digits of account number                  4318
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jasmin Cooper                                                 Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 NJ Division of Taxation                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Pioneer Credit Recovery
 PO Box 1018
 Moorestown, NJ 08057-1018
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Leonard S. Needle                                             Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 20 Cedar Ave.                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 6470
 Fair Haven, NJ 07704
                                                               Last 4 digits of account number                  0711
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lincoln Automotive Financial                                  Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Service                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box Box 542000
 Omaha, NE 68154
                                                               Last 4 digits of account number                  4826
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercer County Special Civil Part                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

 175 S. Broad St., 1st Floor                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 8068
 Trenton, NJ 08650
                                                               Last 4 digits of account number                  7419
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercer County Special Civil Part                              Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 175 S. Broad St., 1st Floor                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 8068
 Trenton, NJ 08650
                                                               Last 4 digits of account number                  6698
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercer County Special Civil Part                              Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 175 S. Broad St., 1st Floor                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 8068
 Trenton, NJ 08650
                                                               Last 4 digits of account number                  1812
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Middlesex County Special Civil Part                           Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1146                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 3rd Floor - Tower
 L-002395-18
 New Brunswick, NJ 08903
                                                               Last 4 digits of account number                  9518
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Clerk                                         Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 33 Mechanic St,                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Freehold, NJ 07728
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Sheriff's Office                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Shaun Golden, Sheriff                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 2500 Kozloski Rd.
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  9518
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - DC-002330-16                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  3016
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - DC-002826-16                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  2616
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part -DC-012244-14                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  1114
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-002138-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  3818


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 Debtor 1 Robert Scott Susser                                                                            Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-003867-09                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  6709
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-003395-10                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  9510
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-004672-10                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  7210
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-000979-11                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  7911
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-002643-11                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  4311
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-002138-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  5909
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-000611-13                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  1113
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-004733-13                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  3313
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-003906-17                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  0617
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-001506-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728

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                                                               Last 4 digits of account number                  0618
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - SC-000662-10                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  6210
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-002138-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  6611
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - DC-010207-11                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  0711
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - DC-020076-10                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  7610
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-002138-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  3611
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-002138-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  0711
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Monmouth County Superior Court                                Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-026553-91                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 71 Monument Park
 Freehold, NJ 07728
                                                               Last 4 digits of account number                  5391
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ocean County Superior Court                                   Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-001188-18                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 118 Washington Street
 Toms River, NJ 08754
                                                               Last 4 digits of account number                  8818
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ocean County Superior Court                                   Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 118 Washington Street
 Toms River, NJ 08754
                                                               Last 4 digits of account number                  4010
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ocean County Superior Court                                   Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Special Civil Part - L-005632-91

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 118 Washington Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Toms River, NJ 08754
                                                               Last 4 digits of account number                  3291
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pella Windows                                                 Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1631 State Route 35                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Oakhurst, NJ 07755
                                                               Last 4 digits of account number                  7911
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Precision Mirror & Glass, Inc.                                Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 89 Hwy. 35                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Eatontown, NJ 07724
                                                               Last 4 digits of account number                  3818
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Standard Roofing Inc.                                         Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7070 SW 9th St Ste 102                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Miami, FL 33144
                                                               Last 4 digits of account number                  4010
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State of NJ Div of Taxation                                   Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 245                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 att Valerie Walachy
 Trenton, NJ 08695
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 TD Bank, N.A.                                                 Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 32 Chestnut St
 Lewiston, ME 04243
                                                               Last 4 digits of account number                  7210
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Plastic Surgery Center                                    Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 535 Sycamore Avenue                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Shrewsbury, NJ 07702
                                                               Last 4 digits of account number                  2616
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Warshauer Electric Supply                                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Company                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 800 Shrewsbury Ave
 Eatontown, NJ 07724
                                                               Last 4 digits of account number                  9510
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Waterways Condominium                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Association, Inc.                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 1835 NE Miami Gardens Dr.
 Miami, FL 33179
                                                               Last 4 digits of account number                  5391
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wilmington Savings Fund Societ                                Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 co Michel Lee                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 565 Taxter Rd Ste 590
 Elmsford, NY 10523
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wilmington Savings Fund Societ                                Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1889                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899
                                                               Last 4 digits of account number



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 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $              309,080.16
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                    0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                    0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $              309,080.16

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                           6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.       $             1,892,107.71

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             1,892,107.71




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 Fill in this information to identify your case:

 Debtor 1                  Robert Scott Susser
                           First Name                         Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name           Last Name

 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                     State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       1st Constitution Bank                                                     Acct#
               US Hwy 130 & Dey Rd                                                       2015 F150 52000 miles
               Cranbury, NJ 08512




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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              Case 18-32786-KCF                           Doc 1          Filed 11/16/18 Entered 11/16/18 15:25:28              Desc Main
                                                                        Document      Page 46 of 90
 Fill in this information to identify your case:

 Debtor 1                   Robert Scott Susser
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name

 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Advanced Development                                                                  Schedule D, line
                                                                                                      Schedule E/F, line  4.42
                                                                                                      Schedule G
                                                                                                    Warshauer Electric Supply Company



    3.2         Advanced Development                                                                  Schedule D, line
                                                                                                      Schedule E/F, line     4.40
                                                                                                      Schedule G
                                                                                                    TD Bank NA



    3.3         Advanced Development Custom Homes LLC                                                 Schedule D, line
                                                                                                      Schedule E/F, line 4.29
                                                                                                      Schedule G
                                                                                                    Lynda Russo and James Russo




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 3
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 Debtor 1 Robert Scott Susser                                                                Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.4      Advanced Development Custom Homes, LLC                                                 Schedule D, line
                                                                                                    Schedule E/F, line   4.35
                                                                                                    Schedule G
                                                                                                  Precision Mirror & Glass, Inc.



    3.5      Advanced Development Custom Homes, LLC                                                 Schedule D, line
                                                                                                    Schedule E/F, line     4.9
                                                                                                    Schedule G
                                                                                                  David Hill



    3.6      Advanced Development Enterprises Inc.                                                  Schedule D, line
                                                                                                    Schedule E/F, line     4.9
                                                                                                    Schedule G
                                                                                                  David Hill



    3.7      Advanced Development Inc.                                                              Schedule D, line
                                                                                                    Schedule E/F, line 4.34
                                                                                                    Schedule G
                                                                                                  Pella Windows & Doors



    3.8      Advanced Development of Rumson                                                         Schedule D, line
                                                                                                    Schedule E/F, line     4.9
                                                                                                    Schedule G
                                                                                                  David Hill



    3.9      Advanced Endodontic Assoc                                                              Schedule D, line
                                                                                                    Schedule E/F, line     4.9
                                                                                                    Schedule G
                                                                                                  David Hill



    3.10     Donna A. McWalters                                                                     Schedule D, line   2.2
                                                                                                    Schedule E/F, line
                                                                                                    Schedule G
                                                                                                  Wells Fargo



    3.11     Donna A. Susser                                                                        Schedule D, line   2.2
                                                                                                    Schedule E/F, line
                                                                                                    Schedule G
                                                                                                  Wells Fargo




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 3
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 Debtor 1 Robert Scott Susser                                                                Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.12     Donna Russer                                                                           Schedule D, line
                                                                                                    Schedule E/F, line  4.37
                                                                                                    Schedule G
                                                                                                  Standard Roofing Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 3 of 3
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Fill in this information to identify your case:

Debtor 1                      Robert Scott Susser

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Builder
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $             0.00    $              N/A

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $          0.00           $       N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Robert Scott Susser                                                                   Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $               N/A
      5e.    Insurance                                                                     5e.     $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.     $              0.00     $               N/A
      5g.    Union dues                                                                    5g.     $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $         2,083.33      $               N/A
      8b. Interest and dividends                                                           8b.     $             0.00      $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
      8e. Social Security                                                                  8e.     $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                  0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,083.33      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           2,083.33 + $             N/A = $          2,083.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         2,083.33
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Robert Scott Susser                                                                Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Child                                16                   Yes
                                                                                                                                             No
                                                                                   Child                                17                   Yes
                                                                                                                                             No
                                                                                   Child                                20                   Yes
                                                                                                                                             No
                                                                                   Child                                22                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                           200.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Robert Scott Susser                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    490.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                    180.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    520.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   650.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   200.00
10.   Personal care products and services                                                   10. $                                                     50.00
11.   Medical and dental expenses                                                           11. $                                                    300.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    645.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    280.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                 3,500.00
19.   Other payments you make to support others who do not live with you.                        $                                                    0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       7,015.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       7,015.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               2,083.33
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              7,015.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                              -4,931.67

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
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 Fill in this information to identify your case:

 Debtor 1                 Robert Scott Susser
                          First Name                        Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name             Last Name

 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Robert Scott Susser                                                   X
              Robert Scott Susser                                                       Signature of Debtor 2
              Signature of Debtor 1

              Date     November 16, 2018                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 Robert Scott Susser
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name

 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)
 For the calendar year before that:                   Wages, commissions,                      $621,058.00            Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                            Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

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 Debtor 1      Robert Scott Susser                                                                          Case number (if known)



5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income             Gross income
                                                   Describe below.                  each source                    Describe below.               (before deductions
                                                                                    (before deductions and                                       and exclusions)
                                                                                    exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                   an attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name




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 Debtor 1      Robert Scott Susser                                                                          Case number (if known)



 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Precision Mirror And G Lass Inc v                        Civil                       Monmouth County Superior                    Pending
       Robert Susser, et al.                                                                Court                                       On appeal
       L-002138-18                                                                          Special Civil Part -                        Concluded
                                                                                            L-002138-18
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Hill David v Robert Susser, et al                        Civil                       Ocean County Superior                       Pending
       L-001188-18                                                                          Court                                       On appeal
                                                                                            Special Civil Part -                        Concluded
                                                                                            L-001188-18
                                                                                            118 Washington Street
                                                                                            Toms River, NJ 08754

       State Of New Jersey v. Robert                            State Tax Lien              New Jersey State Superior                   Pending
       Susser                                                                               Court                                       On appeal
       DJ-036843-18                                                                         Toms River, NJ 08753                        Concluded


       The Plastic Surgery Center P v.                          Civil                       Monmouth County Superior                    Pending
       Robert Susser                                                                        Court                                       On appeal
       DC-002826-16                                                                         Special Civil Part -                        Concluded
                                                                                            DC-002826-16
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Internal Revenue Service v. Robert                       FEDERAL TAX                 Monmouth County Clerk                       Pending
       Susser                                                   LIEN                        33 Mechanic St, -                           On appeal
       2017082699                                                                           2017082699                                  Concluded
                                                                                            Freehold, NJ 07728

       Internal Revenue Service v. Robert                       Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser                                                                               33 Mechanic St, -                           On appeal
       2016106372                                                                           2016106372                                  Concluded
                                                                                            Freehold, NJ 07728

       Internal Revenue Service v. Robert                       Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser                                                                               33 Mechanic St, -                           On appeal
       2016064998                                                                           2016064998                                  Concluded
                                                                                            Freehold, NJ 07728

       Internal Revenue Service v. Robert                       Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser, Donna Susser                                     Release                     33 Mechanic St, -                           On appeal
       2016113809                                                                           2016113809                                  Concluded
                                                                                            Freehold, NJ 07728

       Internal Revenue Service v. Robert                       Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser                                                                               33 Mechanic St, -                           On appeal
       2016050059                                                                           2016050059                                  Concluded
                                                                                            Freehold, NJ 07728


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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Internal Revenue Service v Robert                        Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser                                                                               33 Mechanic St,                             On appeal
                                                                                            Freehold, NJ 07728                          Concluded


       Internal Revenue Service v. Robert                       Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser                                                                               33 Mechanic St,                             On appeal
                                                                                            Freehold, NJ 07728                          Concluded


       Internal Revenue Service v. Robert                       Federal Tax Lien            Monmouth County Clerk                       Pending
       Susser                                                                               33 Mechanic St,                             On appeal
                                                                                            Freehold, NJ 07728                          Concluded


       Albert E. Sacco, DDS v. Robert                           Small Claim                 Monmouth County Superior                    Pending
       Susser, et al.                                                                       Court                                       On appeal
       SC-000662-10                                                                         Special Civil Part -                        Concluded
                                                                                            SC-000662-10
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       All Phase Construction LLC v.                            Civil                       Monmouth County Superior                    Pending
       Robert Susser                                                                        Court                                       On appeal
       DC-000807-11                                                                         Special Civil Part -                        Concluded
                                                                                            DC-000807-11
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       American Builders & Contractors                          Civil                       Middlesex County Special                    Pending
       Supply C v. Robert Susser, et al.                                                    Civil Part                                  On appeal
       L-002395-18                                                                          P.O. Box 1146                               Concluded
                                                                                            3rd Floor - Tower
                                                                                            DC-000807-11
                                                                                            New Brunswick, NJ 08903

       Atlantic Plumbing Supply Corp v.                         Civil                       Monmouth County Superior                    Pending
       Robert Susser, et al.                                                                Court                                       On appeal
       L-001506-18                                                                          Special Civil Part -                        Concluded
                                                                                            L-001506-18
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Custom Lawn Sprinkler Co LLC v.                          Civil                       Monmouth County Superior                    Pending
       Robert Susser                                                                        Court                                       On appeal
       L-003867-09                                                                          Special Civil Part -                        Concluded
                                                                                            L-003867-09
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       David E. De Lorenzi & Theresa De                         Civil                       Monmouth County Superior                    Pending
       Lorenzi v. Robert Susser, et al.                                                     Court                                       On appeal
       L-004059-09                                                                          Special Civil Part -                        Concluded
                                                                                            L-004059-09
                                                                                            71 Monument Park
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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Disciplinary Oversight Committee                         Judgment                    Mercer County Special Civil                 Pending
       v. Robert Susser                                                                     Part                                        On appeal
       J-052128-04 / DRB 97-419                                                             175 S. Broad St., 1st Floor                 Concluded
                                                                                            P.O. Box 8068
                                                                                            Trenton, NJ 08650

       Division of Employer Accounts v.                         Certificate of Debt         Mercer County Special Civil                 Pending
       Robert Susser, et al.                                                                Part                                        On appeal
       DJ-098418-12                                                                         175 S. Broad St., 1st Floor                 Concluded
                                                                                            P.O. Box 8068
                                                                                            Trenton, NJ 08650

       FIA Card Services NA v. Robert                           Civil                       Monmouth County Superior                    Pending
       Susser                                                                               Court                                       On appeal
       DC-006966-11                                                                         Special Civil Part -                        Concluded
                                                                                            DC-006966-11
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Ford Motor Credit Company, LLC                           Civil                       Monmouth County Superior                    Pending
       v. Robert Susser, et al.                                                             Court                                       On appeal
       DC-002936-11                                                                         Special Civil Part -                        Concluded
                                                                                            DC-002936-11
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Fox & Melofchik LLC v. Robert                            Civil                       Monmouth County Superior                    Pending
       Susser                                                                               Court                                       On appeal
       L-003906-17                                                                          Special Civil Part -                        Concluded
                                                                                            L-003906-17
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Installed Building Products v.                           Civil                       Monmouth County Superior                    Pending
       Robert Susser, et al.                                                                Court                                       On appeal
       DC-020076-10                                                                         Special Civil Part -                        Concluded
                                                                                            DC-020076-10
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Leonard S. Needle v. Robert                              Civil                       Monmouth County Superior                    Pending
       Susser, et al.                                                                       Court                                       On appeal
       DC-010207-11                                                                         Special Civil Part -                        Concluded
                                                                                            DC-010207-11
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Louis & Sons Drywall Inc. v.                             Civil                       Monmouth County Superior                    Pending
       Robert Susser, et al.                                                                Court                                       On appeal
       L-002643-11                                                                          Special Civil Part -                        Concluded
                                                                                            L-002643-11
                                                                                            71 Monument Park
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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Lynda Russo and James Russo v.                           Civil                       Monmouth County Superior                    Pending
       Robert Susser, et al.                                                                Court                                       On appeal
       L-000611-13                                                                          Special Civil Part -                        Concluded
                                                                                            L-000611-13
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Lynda Russo and James Russo v.                           Civil                       Monmouth County Superior                    Pending
       Robert Susser                                                                        Court                                       On appeal
       L-004733-13                                                                          Special Civil Part                          Concluded
                                                                                            -L-004733-13
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       New Jersey Motor Vehicle                                 Civil                                                                   Pending
       Commission v. Robert Susser                                                                                                      On appeal
       DJ#36,843-181                                                                                                                    Concluded


       Pella Windows & Doors v. Robert                          Civil                       Monmouth County Superior                    Pending
       Susser, et al.                                                                       Court                                       On appeal
       L-000979-11                                                                          Special Civil Part -                        Concluded
                                                                                            L-000979-11
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Standard Roofing Inc. v. Robert                          Civil                       Ocean County Superior                       Pending
       Susser, et al.                                                                       Court                                       On appeal
       L-002040-10                                                                          Special Civil Part -                        Concluded
                                                                                            L-002040-10
                                                                                            118 Washington Street
                                                                                            Toms River, NJ 08754

       State of New Jersey v. Robert                            Certificate of Debt         Mercer County Superior                      Pending
       Susser                                                                               Court                                       On appeal
       DJ-303966-98                                                                         Special Civil Part -                        Concluded
                                                                                            DJ-303966-98
                                                                                            175 S. Broad St., 1st Floor
                                                                                            P.O. Box 8068
                                                                                            Trenton, NJ 08650

       TD Bank NA v. Robert Susser, et                          Civil                       Monmouth County Superior                    Pending
       al.                                                                                  Court                                       On appeal
       L-004672-10                                                                          Special Civil Part -                        Concluded
                                                                                            L-004672-10
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Warshauer Electric Supply                                Civil                       Monmouth County Superior                    Pending
       Company v. Robert Susser, et al.                                                     Court                                       On appeal
       L-003395-10                                                                          Special Civil Part -                        Concluded
                                                                                            L-003395-10
                                                                                            71 Monument Park
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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Wells Fargo v. Robert Susser, et al.                     Foreclosure                 Foreclosure Processing                      Pending
       F-004819-15                                                                          Service                                     On appeal
                                                                                            Superior Court Clerk -                      Concluded
                                                                                            F-004819-15
                                                                                            PO Box 971
                                                                                            Trenton, NJ 08625

       Waterways Condominium                                    Judgment                    Monmouth County Superior                    Pending
       Association, Inc. v. Robert Susser                                                   Court                                       On appeal
       L-059496-89                                                                          Special Civil Part -                        Concluded
                                                                                            L-059496-89
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Shrewsbury State Bank v. Robert                          Judgment                    Ocean County Superior                       Pending
       Susser                                                                               Court                                       On appeal
       L-005632-91                                                                          Special Civil Part -                        Concluded
                                                                                            L-005632-91
                                                                                            118 Washington Street
                                                                                            Toms River, NJ 08754

       Precision Mirror And G Lass Inc vs                       CIVIL NEW FILING            Monmouth County Superior                    Pending
       ROBERT SUSSER, ADVANCED                                                              Court                                       On appeal
       DEVELOPMENT CUSTOM                                                                   Special Civil Part -                        Concluded
       L-002138-18                                                                          L-002138-18
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Sophinos Nickolas vs ROBERT                              CIVIL NEW FILING            Monmouth County Superior                    Pending
       SUSSER, ADVANCED                                                                     Court                                       On appeal
       DEVELOPMENT CUSTOM                                                                   Special Civil Part -                        Concluded
       L-001638-18                                                                          L-001638-18
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Associated Appraisal Group vs                            CIVIL NEW FILING            Monmouth County Superior                    Pending
       ROBERT SUSSER                                                                        Court                                       On appeal
       DC-012244-14                                                                         Special Civil Part -                        Concluded
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Associated Appraisal Group vs                            CIVIL JUDGMENT              Monmouth County Superior                    Pending
       ROBERT SUSSER                                                                        Court                                       On appeal
       DC-010811-14                                                                         Special Civil Part -                        Concluded
                                                                                            DC-010811-14
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Sophinos Nicholas vs ROBERT                              CIVIL NEW FILING            Monmouth County Superior                    Pending
       SUSSER, ADVANCED                                                                     Court                                       On appeal
       DEVELOPMENT CUSTOM                                                                   Special Civil Part -                        Concluded
       L-001638-18                                                                          L-001638-18
                                                                                            71 Monument Park
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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Maybruch And Zapcic Ll C vs                              CIVIL NEW FILING            Monmouth County Superior                    Pending
       ROBERT SUSSER                                                                        Court                                       On appeal
       DC-002330-16                                                                         Special Civil Part -                        Concluded
                                                                                            DC-002330-16
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728

       Christina Trust, Div of Wilmington                       Foreclosure -               Superior Court Clerk's                      Pending
       Savings v. Robert Susser, et al.                         Dismissed                   Office                                      On appeal
       F-031776-16                                                                          Foreclosure Processing                      Concluded
                                                                                            Service
                                                                                            PO Box 971
                                                                                            Trenton, NJ 08625-0971

       Nicholas Sophinos & Melina                               Civil                       Monmouth County Superior                    Pending
       Sophinos v. Robert Susser, et al                                                     Court                                       On appeal
       L-001874-18                                                                          Special Civil Part -                        Concluded
                                                                                            L-001874-18
                                                                                            71 Monument Park
                                                                                            Freehold, NJ 07728


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List                  loss                              lost
                                                            pending insurance claims on line 33 of Schedule A/B:
                                                            Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       William H. Oliver, Jr.                                         Attorney Fees                                                                       $3,500.00
       2240 Highway 33
       Suite 112
       Neptune, NJ 07753
       bkwoliver@aol.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you




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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                      Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of               Type of account or       Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument               closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                           have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                   have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                   Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Advanced Development custom                              Home Repair                                           EIN:
       Home LLC
                                                                                                                      From-To

       RFH Custom Homes LLC                                     Home Repair                                           EIN:

                                                                                                                      From-To

       1 Stop Home Maintenance and                              Home Repair                                           EIN:       XX-XXXXXXX
       Repair
       17 Washington Ave.                                                                                             From-To 7/11/18
       Rumson, NJ 07760




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 11

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 Debtor 1      Robert Scott Susser                                                                          Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Robert Scott Susser
 Robert Scott Susser                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      November 16, 2018                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 12

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 Fill in this information to identify your case:

 Debtor 1                  Robert Scott Susser
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name

 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                  12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?


    Creditor's         1st Constitution Bank                                Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of        2015 F150 52000 miles                             Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Wells Fargo                                          Surrender the property.                           No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a              Yes
    Description of 17 Washington Street Rumson,                             Reaffirmation Agreement.
    property       NJ 07760-2036 Monmouth                                   Retain the property and [explain]:
    securing debt: County
                   FMV - $907,000
                   Less COS - $122,590

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                      Will the lease be assumed?


Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                 page 1

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 Debtor 1      Robert Scott Susser                                                                  Case number (if known)



 Lessor's name:               1st Constitution Bank                                                                          No

                                                                                                                             Yes

 Description of leased        Acct#
 Property:                    2015 F150 52000 miles


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Robert Scott Susser                                                     X
       Robert Scott Susser                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date        November 16, 2018                                               Date




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                               page 2

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 Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                      122A-1Supp:
 Debtor 1              Robert Scott Susser
 Debtor 2                                                                                                     1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey                                    2. The calculation to determine if a presumption of abuse
                                                                                                                  applies will be made under Chapter 7 Means Test
                                                                                                                  Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                              3. The Means Test does not apply now because of
                                                                                                                  qualified military service but it could apply later.
                                                                                                              Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:          Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
    the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A                   Column B
                                                                                                          Debtor 1                   Debtor 2 or
                                                                                                                                     non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                           $                                 0.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                 0.00       $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                 0.00       $
  5. Net income from operating a business, profession, or farm
                                                                      Debtor 1
        Gross receipts (before all deductions)                        $           2,083.33
        Ordinary and necessary operating expenses                    -$               0.00
        Net monthly income from a business,                                                     Copy
        profession, or farm                                           $           2,083.33 here -> $                 2,083.33        $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $      0.00
        Ordinary and necessary operating expenses                         -$     0.00
        Net monthly income from rental or other real property             $      0.00 Copy here -> $                      0.00       $
                                                                                                          $               0.00       $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                        page 1
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 Debtor 1     Robert Scott Susser                                                                    Case number (if known)



                                                                                                 Column A                     Column B
                                                                                                 Debtor 1                     Debtor 2 or
                                                                                                                              non-filing spouse
  8. Unemployment compensation                                                                   $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                     $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                   $                  0.00      $
                                                                                                 $                  0.00      $
                  Total amounts from separate pages, if any.                                  + $                   0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $    2,083.33           +$                      =$       2,083.33

                                                                                                                                            Total current monthly
                                                                                                                                            income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $       2,083.33

              Multiply by 12 (the number of months in a year)                                                                                  x 12
       12b. The result is your annual income for this part of the form                                                              12b. $        24,999.96

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  NJ

       Fill in the number of people in your household.                        5
       Fill in the median family income for your state and size of household.                                                       13.    $    130,874.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Robert Scott Susser
                Robert Scott Susser
                Signature of Debtor 1
        Date November 16, 2018
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                              page 2
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 Debtor 1    Robert Scott Susser                                                                  Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 05/01/2018 to 10/31/2018.

Line 5 - Income from operation of a business, profession, or farm
Source of Income: 1 Stop Home Construction
Income/Expense/Net by Month:
                          Date                                            Income                        Expense                     Net
 6 Months Ago:                  05/2018                                            $0.00                               $0.00                  $0.00
 5 Months Ago:                  06/2018                                            $0.00                               $0.00                  $0.00
 4 Months Ago:                  07/2018                                        $2,000.00                               $0.00              $2,000.00
 3 Months Ago:                  08/2018                                        $2,500.00                               $0.00              $2,500.00
 2 Months Ago:                  09/2018                                        $4,000.00                               $0.00              $4,000.00
 Last Month:                    10/2018                                        $4,000.00                               $0.00              $4,000.00
                      Average per month:                                       $2,083.33                               $0.00
                                                                                           Average Monthly NET Income:                    $2,083.33




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:        Liquidation
 This notice is for you if:
                                                                                                  $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335   total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property, you
 You must file Chapter 7 Statement of Your Current                                        must list it on Schedule C: The Property You Claim as
 Monthly Income (Official Form 122A–1) if you are an                                      Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                       $1,167   filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on                                               $1,717   total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on                                         Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay                                   but is also available to individuals. The provisions of
 unsecured creditors. If                                                                  chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file. Only
             an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
             what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
             and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that many
             people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
             inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for family                                                    repay your creditors all or part of the money that you
             farmers or fishermen                                                         owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge some                                        bankruptcy papers,
 debts that are not paid. You are eligible for chapter 13
 only if your debts are not more than certain dollar                                             certain debts for acts that caused death or
 amounts set forth in 11 U.S.C. § 109.                                                           personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint case,
 s.html#procedure.                                                                        both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
                                                                                          before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                              usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                                  In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                                must complete a financial management instructional
        perjury—either orally or in writing—in connection                                 course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                         filing a joint case, both spouses must complete the
        imprisoned, or both.                                                              course.

        All information you supply in connection with a                                   You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                                  both the briefing and the instructional course from:
        Attorney General acting through the Office of the                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                           In Alabama and North Carolina, go to:
        Department of Justice.                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 Make sure the court has your mailing address                                             AndDebtCounselors.aspx.

 The bankruptcy court sends notices to the mailing                                        If you do not have access to a computer, the clerk of
 address you list on Voluntary Petition for Individuals                                   the bankruptcy court may be able to help you obtain the
 Filing for Bankruptcy (Official Form 101). To ensure                                     list.
 that you receive information about your case,
 Bankruptcy Rule 4002 requires that you notify the court
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re       Robert Scott Susser                                                                              Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,500.00
             Prior to the filing of this statement I have received                                        $                     3,500.00
             Balance Due                                                                                  $                        0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning and filing of reaffirmation agreements.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Defense or prosecution of any adversarial complaint including non-dischargeable; Defense or prosecution of
               relief for stay motion; Challenge or avoidance of any proof of claim; Additional 341(a) appearance or
               confirmation hearing; Motion for loan modification or to sell or refinance real estate; Application to employ
               professional; Conversion from or to Chapter 7 to 13 or conversion from or to Chapter 13 to 7; Notice of
               settlement of controversy; Amendments to add additional creditors; Costs relating to credit reports, judgment
               searches, couriers, experts, travel and/or extraordinary Pacer or duplication costs/charges, etc. Response to
               audit or United States Trustee objection to case; Preparation and/or appearance at 2004 deposition. Negotiations
               with secured creditors.

                  The Debtor(s) has agreed that this office may hire another
                  attorney to appear for the debtor(s) at the 341 hearing.




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 16, 2018                                                          /s/ William H. Oliver, Jr.
     Date                                                                       William H. Oliver, Jr.
                                                                                Signature of Attorney
                                                                                William H. Oliver, Jr.
                                                                                2240 Highway 33
                                                                                Suite 112
                                                                                Neptune, NJ 07753
                                                                                732-988-1500 Fax: 732-775-7404
                                                                                bkwoliver@aol.com
                                                                                Name of law firm




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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      Robert Scott Susser                                                                    Case No.
                                                                                   Debtor(s)       Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: November 16, 2018                                                /s/ Robert Scott Susser
                                                                        Robert Scott Susser
                                                                        Signature of Debtor




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                        1st Constitution Bank
                        US Hwy 130 & Dey Rd
                        Cranbury, NJ 08512


                        1st Constitution Bank
                        PO BOX 634
                        Rte. 130
                        Cranbury, NJ 08512


                        1st Constitution Bank
                        PO Box 634, Rte. 130
                        Cranbury, NJ 08512


                        1st Constitution Bank
                        PO Box 634 Rte 130
                        Cranbury, NJ 08512


                        ABC Supply
                        c/o Bart J. Klein, Esq.
                        2066 Millburn Ave.
                        Maplewood, NJ 07040


                        Adam Rondinelli
                        50 Barrack St
                        Trenton, NJ 08695


                        Albert E. Sacco, DDS
                        c/o Jeffrey Rosen, Esq.
                        524 Prospect Ave.
                        Little Silver, NJ 07739


                        Albert E. Sacco, DDS
                        18 Ayers Lane
                        Little Silver, NJ 07739


                        All Phase Construction LLC
                        c/o Jeffrey Rosen
                        788 Shrewsbury Ave., Ste. 2207
                        Eatontown, NJ 07724


                        All Phase Construction LLC
                        743 Prospect Ave
                        South Amboy, NJ 08879
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                    American Builders & Contractors Supply C
                    a/k/a ABC Supply
                    c/o Bart J. Klein, Esq.
                    2066 Millburn Ave.
                    Maplewood, NJ 07040


                    American Builders & Contractors Supply C
                    100 Park Rd, Tinton Falls, NJ 07724
                    Eatontown, NJ 07724


                    Associated Appraisal Group
                    c/o Piro Zinna Cifelli Paris & Genitempo
                    360 Passaic Ave.
                    Nutley, NJ 07110


                    Associated Appraisal Group
                    6 Commerce Dr Ste 303
                    Cranford, NJ 07016


                    Atlantic Plumbing Supply Corp
                    c/o Turner Law Firm LLC
                    76 S. Orange Ave.
                    South Orange, NJ 07079


                    Atlantic Plumbing Supply Corp
                    702 Joline Ave
                    Long Branch, NJ 07740


                    Atlantic Plumbing Supply Corp
                    2810 State Hwy. Rte. 37 East
                    Toms River, NJ 08753


                    Christiana Trust, A Div of Wilmington
                    Savings Fund Society, FSB
                    c/o Selene Finance, LP
                    9990 Richmond Ave., Ste. 400
                    Houston, TX 77042


                    Christina Trust, Div of Wilmington Savin
                    c/o Knuckles Komosinski & Manfro, LLP
                    50 Tice Blvd., Ste. 183
                    Woodcliff Lake, NJ 07677
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                    Custom Lawn Sprinkler Co LLC
                    c/o James M. Siciliano
                    485 Broadway
                    Long Branch, NJ 07740


                    Custom Lawn Sprinkler Co LLC
                    264 Branchport Ave
                    Long Branch, NJ 07740


                    David E. De Lorenzi & Theresa De Lorenzi
                    200 Fox Hill Dr.
                    Little Silver, NJ 07739


                    David Hill
                    c/o Carluccio Leone Dimon D&S LLC
                    9 Robins Street
                    Toms River, NJ 08753


                    David Hill
                    28 Walker Lane
                    Waretown, NJ 08758


                    Disciplinary Oversight Committee
                    c/o Supreme Court Clerk's Office
                    Richard J. Hughes Justice Complex
                    PO Box 970
                    Trenton, NJ 08625


                    Division of Employer Accounts
                    NJ Department of Labor & Workforce Devel
                    PO Box 379
                    Trenton, NJ 08625


                    Donna Susser
                    4 Pompano Rd
                    Rumson, NJ 07760


                    Dr Allen Yount DMD
                    c/o Capital Accounts
                    Attn: Bankruptcy Dept
                    Po Box 140065
                    Nashville, TN 37214
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                    Dr. Allen Yount DMD
                    c/o Capital Accounts
                    Po Box 140065
                    Nashville, TN 37214


                    Dr. Allen Yount DMD
                    333 N College St
                    Auburn, AL 36830


                    EZ Pass
                    375 McCarter Highway
                    Newark, NJ 07114


                    EZ Pass Violations
                    PO Box 52005
                    Newark, NJ 07101-8205


                    FIA Card Services NA
                    c/o Gordon & Weinberg
                    101 E Hector St.
                    Ste. 220
                    Greensboro, NC 27410


                    FIA Card Services NA
                    4161 Piedmont PY
                    Greensboro, NC 27410


                    Ford Motor Credit Company, LLC
                    c/o Morgan Bornstein Morgan
                    1236 Brace Rd., Ste. K
                    Cherry Hill, NJ 08034


                    Ford Motor Credit Company, LLC
                    1335 S Clearview Box 6508
                    Mesa, AZ 85216


                    Foreclosure Processing Service
                    Superior Court Clerk
                    PO Box 971
                    Trenton, NJ 08625


                    Fox & Melofchik LLC
                    12 Christopher Way, Ste. 101
                    Eatontown, NJ 07724
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                    Installed Building Products
                    c/o Obrien & Taylor
                    175 Fairfield Ave.
                    PO Box 505
                    Caldwell, NJ 07007


                    Installed Building Products
                    495 S High St.
                    Ste. 50
                    Columbus, OH 43215


                    Internal Revenue Service
                    Special Procedures
                    Bankruptcy Section
                    P.O. Box 724
                    Springfield, NJ 07081


                    Inv. Adam Rondinelli
                    50 Barrack St.
                    Trenton, NJ 08695


                    Jasmin Cooper
                    NJ Division of Taxation
                    Pioneer Credit Recovery
                    PO Box 1018
                    Moorestown, NJ 08057-1018


                    Leonard S. Needle
                    20 Cedar Ave.
                    PO Box 6470
                    Fair Haven, NJ 07704


                    Lincoln Automotive Financial Service
                    Attn: Bankruptcy
                    Po Box 542000
                    Omaha, NE 68154


                    Lincoln Automotive Financial Service
                    Po Box Box 542000
                    Omaha, NE 68154


                    Louis & Sons Drywall Inc.
                    c/o Sterns & Weinroth, Esq.
                    50 West State Street
                    Trenton, NJ 08607
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                    Lynda Russo and James Russo
                    c/o McCarter & English
                    Four Gateway Center 100 Mulberry
                    Street P.O. Box 652
                    Newark, NJ 07101


                    Lynda Russo and James Russo
                    c/o The Beinhaker Law Firm LLC
                    33 Bleeker St., Ste. 210
                    Millburn, NJ 07041


                    Maybruch & Zapcic, LLC
                    61 Village Ct.
                    PO Box 383
                    Hazlet, NJ 07730


                    Mercer County Special Civil Part
                    175 S. Broad St., 1st Floor
                    P.O. Box 8068
                    Trenton, NJ 08650


                    Middlesex County Special Civil Part
                    P.O. Box 1146
                    3rd Floor - Tower
                    L-002395-18
                    New Brunswick, NJ 08903


                    Monmouth County Clerk
                    33 Mechanic St,
                    Freehold, NJ 07728


                    Monmouth County Sheriff's Office
                    Shaun Golden, Sheriff
                    2500 Kozloski Rd.
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - DC-002330-16
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - DC-002826-16
                    71 Monument Park
                    Freehold, NJ 07728
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                    Monmouth County Superior Court
                    Special Civil Part -DC-012244-14
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-002138-18
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-003867-09
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-003395-10
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-004672-10
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-000979-11
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-002643-11
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-000611-13
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-004733-13
                    71 Monument Park
                    Freehold, NJ 07728
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                    Monmouth County Superior Court
                    Special Civil Part - L-003906-17
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-001506-18
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - SC-000662-10
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - DC-010207-11
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - DC-020076-10
                    71 Monument Park
                    Freehold, NJ 07728


                    Monmouth County Superior Court
                    Special Civil Part - L-026553-91
                    71 Monument Park
                    Freehold, NJ 07728


                    New Jersey Motor Vehicle Comissions
                    PO Box 155
                    Trenton, NJ 08666-0155


                    New Jersey Motor Vehicle Commission
                    Title Records Unit
                    PO Box 155
                    Trenton, NJ 08666-0155


                    NJDMV
                    M.V. Violations Surcharge System
                    P.O.Box 4850
                    Trenton, NJ 08650
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                    Ocean County Superior Court
                    Special Civil Part - L-001188-18
                    118 Washington Street
                    Toms River, NJ 08754


                    Ocean County Superior Court
                    Special Civil Part
                    118 Washington Street
                    Toms River, NJ 08754


                    Ocean County Superior Court
                    Special Civil Part - L-005632-91
                    118 Washington Street
                    Toms River, NJ 08754


                    Pella Windows
                    1631 State Route 35
                    Oakhurst, NJ 07755


                    Pella Windows & Doors
                    c/o Hudson Law Offices PC
                    900 Rte. 168, Ste. C-2
                    Blackwood, NJ 08012


                    Precision Mirror & Glass, Inc.
                    c/o Paul V. Fernicola & Associates, LLC
                    219 Broad St.
                    Red Bank, NJ 07701


                    Precision Mirror & Glass, Inc.
                    89 Hwy. 35
                    Eatontown, NJ 07724


                    Shrewsbury State Bank
                    140 Markham Place
                    Little Silver, NJ 07739


                    Standard Roofing Inc.
                    c/o Ronald L. Bennardo, Esq.
                    332 S Main St
                    Forked River, NJ 08731


                    Standard Roofing Inc.
                    7070 SW 9th St Ste 102
                    Miami, FL 33144
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                    State of New Jersey
                    Division of Taxation
                    PO Box 245
                    Trenton, NJ 08601


                    State of NJ Div of Taxation
                    PO Box 245
                    att Valerie Walachy
                    Trenton, NJ 08695


                    Superior Court Clerk's Office
                    Foreclosure Processing Service
                    PO Box 971
                    Trenton, NJ 08625-0971


                    TD Bank NA
                    c/o Pressler & Pressler LLP
                    7 Entin Rd.
                    Parsippany, NJ 07054


                    TD Bank, N.A.
                    Attn: Bankruptcy
                    32 Chestnut St
                    Lewiston, ME 04243


                    The Plastic Surgery Center
                    535 Sycamore Avenue
                    Shrewsbury, NJ 07702


                    The Plastic Surgery Center, PA
                    c/o Maggs & McDermott, LLC
                    800 Old Bridge Rd
                    Brielle, NJ 08730-1334


                    Warshauer Electric Supply Company
                    c/o Nord & DeMaio
                    Turnpike Metroplex
                    190 St. Hwy 18, Suite 201
                    East Brunswick, NJ 08816


                    Warshauer Electric Supply Company
                    800 Shrewsbury Ave
                    Eatontown, NJ 07724
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                    Waterways Condominium Association, Inc.
                    c/o Ronald L. Perl, Esq.
                    HILL WALLACK LLP
                    21 Roszel Rd
                    Princeton, NJ 08540-6205


                    Waterways Condominium Association, Inc.
                    1835 NE Miami Gardens Dr.
                    Miami, FL 33179


                    Wells Fargo
                    c/o Stern & Eisenberg, PC
                    1040 N. Kings Highway
                    Ste. 407
                    Cherry Hill, NJ 08034


                    Wells Fargo Home Loan
                    P.O. Box 11758
                    Newark, NJ 07101


                    Wilmington Savings Fund Societ
                    co Michel Lee
                    50 Tice Blvd Ste 183
                    Woodcliff Lake, NJ 07677


                    Wilmington Savings Fund Societ
                    co Michel Lee
                    565 Taxter Rd Ste 590
                    Elmsford, NY 10523


                    Wilmington Savings Fund Societ
                    PO Box 1889
                    Wilmington, DE 19899
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                                                    11 U.S.C. § 527(a)(2) Disclosure

In accordance with section 527(a)(2) of the Bankruptcy Code, be advised that:

1. All information that you are required to provide with a bankruptcy petition and during a
   bankruptcy case must be complete, accurate, and truthful.

2. All assets and liabilities must be completely and accurately disclosed, with the replacement
   value of each asset as defined in section 506 listed after reasonable inquiry to establish such
   value.

3. Current monthly income, the amounts specified in the “means test” under section 707(b)(2),
   and disposable income in chapter 13 cases must be stated after reasonable inquiry.

4. Information that you provide during your bankruptcy case may be audited, and the failure to
   provide such information may result in dismissal of the case or other sanction, including a
   criminal sanction.




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               IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION
                                    PREPARER.

If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to
represent you, or you can get help in some localities from a bankruptcy petition preparer who is
not an attorney. THE LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION
PREPARER TO GIVE YOU A WRITTEN CONTRACT SPECIFYING WHAT THE
ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

The following information helps you understand what must be done in a routine bankruptcy case
to help you evaluate how much service you need. Although bankruptcy can be complex, many
cases are routine.

Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for
different forms of debt relief available under the Bankruptcy Code and which form of relief is
most likely to be beneficial for you. Be sure you understand the relief you can obtain and its
limitations. To file a bankruptcy case, documents called a Petition, Schedules, and Statement of
Financial Affairs, and in some cases a Statement of Intention, need to be prepared correctly and
filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once
your case starts, you will have to attend the required first meeting of the creditors where you may
be questioned by a court official called a 'trustee' and by creditors.

If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You
may want help deciding whether to do so. A creditor is not permitted to coerce you into
reaffirming your debts.

If you choose to file a chapter 13 case in which you repay your creditors what you can afford
over 3 to 5 years, you may also want help with preparing your chapter 13 plan and with the
confirmation hearing on your plan which will be before a bankruptcy judge.

If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13,
you will want to find out what should be done from someone familiar with that type of relief.

Your bankruptcy case may also involve litigation. You are generally permitted to represent
yourself in litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers,
can give you legal advice.




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